                   Case 20-10343-LSS              Doc 243        Filed 03/20/20         Page 1 of 13




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    ------------------------------------------------------ x
                                                           :
    In re:                                                 :        Chapter 11
                                                           :
    BOY SCOUTS OF AMERICA AND                              :        Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1                                    :
                                                                    Jointly Administered
                               Debtors.                    :
                                                           :        Hearing Date: April 15, 2020 at 10:00 a.m. (ET)
    ------------------------------------------------------ x        Obj. Deadline: April 3, 2020 at 4:00 p.m. (ET)

              APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
             PROPOSED FUTURE CLAIMANTS’ REPRESENTATIVE TO RETAIN
              AND EMPLOY YOUNG CONAWAY STARGATT & TAYLOR, LLP
               AS HIS ATTORNEYS, EFFECTIVE AS OF THE PETITION DATE

                     James L. Patton, Jr., as the proposed legal representative (the “Future Claimants’

Representative”) for holders of Abuse Claims2 against the debtors and debtors-in-possession (the

“Debtors”) in the above-captioned chapter 11 case (the “Chapter 11 Cases”) that are unable to

assert such Abuse Claims by the applicable bar date established by this Court (the “Future

Claimants”), submits this application (this “YCST Application”) for entry of an order, pursuant to

section 105(a) of title 11 of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy

Code”) and Rule 2014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

and substantially in the form attached hereto as Exhibit C (the “Proposed Order”), authorizing the

Future Claimants’ Representative to retain and employ Young Conaway Stargatt & Taylor, LLP

(“Young Conaway”) as his attorneys, effective as of the Petition Date. In support of this YCST



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Debtors’
     Motion for Entry of an Order Appointing James L. Patton, Jr., as Legal Representative for Future Claimants, Nunc
     Pro Tunc to the Petition Date [Docket No. 223].
                      Case 20-10343-LSS         Doc 243      Filed 03/20/20   Page 2 of 13




         Application, the Future Claimants’ Representative relies upon the Declaration of Edwin J. Harron

         (the “Harron Declaration”), attached hereto as Exhibit A, and represents as follows:

                                             RELIEF REQUESTED

                        1.     By this YCST Application, the Future Claimants’ Representative

         respectfully requests the entry of the Proposed Order authorizing him to retain and employ as his

         attorneys the law firm of Young Conaway, effective as of the Petition Date.

                                                JURISDICTION
                        2.     The Court has jurisdiction over this YCST Application pursuant to 28

         U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                        3.     The statutory and legal bases for the relief requested herein are section

         105(a) of the Bankruptcy Code and Bankruptcy Rule 2014.

                                                BACKGROUND

                        4.     On February 18, 2020 (the “Petition Date”), the Debtors each filed a

         voluntary petition for relief under chapter 11 of the Bankruptcy Code in the United States

         Bankruptcy Court for the District of Delaware (the “Court”). The Debtors continue to operate and

         maintain their non-profit organization and manage their properties as debtors in possession

         pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                        5.     On March 5, 2020, the United States Trustee for the District of Delaware

         (the “U.S. Trustee”) appointed an official committee of tort claimants (the “Tort Claimants’

         Committee”) and an official committee of unsecured creditors (the “UCC”) pursuant to section

         1102 of the Bankruptcy Code [Docket Nos. 141, 142].

                        6.     No party has requested the appointment of a trustee or examiner in these

         cases.



26079686.4

                                                         2
                       Case 20-10343-LSS         Doc 243       Filed 03/20/20     Page 3 of 13




                        7.      On March 17, 2020, the Debtors submitted to this Court a motion for entry

         of an order appointing James L. Patton, Jr., as the Future Claimants’ Representative in the Chapter

         11 Case, nunc pro tunc to the Petition Date [Docket Nos. 213 & 223] (the “FCR Appointment

         Motion”).

                        8.      Contingent upon the Court entering an order appointing Mr. Patton as the

         Future Claimants’ Representative, effective as of the Petition Date, Mr. Patton seeks to retain

         Young Conaway as his counsel, effective as of the Petition Date.

                                      BASIS FOR THE RELIEF SOUGHT

                        9.      Bankruptcy Rule 2014(a) provides, in relevant part, as follows:

                        An order approving the employment of attorneys . . . pursuant to
                        § 327, § 1103, or § 1114 of the Code shall be made only on
                        application of the trustee or committee. The application shall be
                        filed and . . . a copy of the application shall be transmitted by the
                        applicant to the United States trustee. The application shall state the
                        specific facts showing the necessity for the employment, the name
                        of the person to be employed, the reasons for the selection, the
                        professional services to be rendered, any proposed arrangement for
                        compensation, and, to the best of the applicant’s knowledge, all of
                        the person’s connections with the debtors, creditors, any other party
                        in interest, their respective attorneys and accountants, the United
                        States trustee, or any person employed in the office of the United
                        States trustee. The application shall be accompanied by a verified
                        statement of the person to be employed setting forth the person’s
                        connections with the debtors, creditors, or any other party in interest,
                        their respective attorneys and accountants, the United States trustee,
                        or any person employed in the office of the United States trustee.

         Fed. R. Bankr. P. 2014(a).

                        10.     Relying upon Bankruptcy Rule 2014, courts in chapter 11 cases in many

         districts have authorized legal representatives for future claimants to retain counsel to assist them

         in performing their duties in the bankruptcy proceedings. See, e.g., In re Imerys Talc America,

         Case No. 19-10289 (LSS) (Bankr. D. Del. 2019); In re Maremont Corp., Case No. 19-10118 (KJC)

         (Bankr. D. Del. 2019); In re Fairbanks Co., Case No. 18-41768 (PWB) (Bankr. N.D. Ga. 2018);
26079686.4

                                                           3
                         Case 20-10343-LSS             Doc 243       Filed 03/20/20        Page 4 of 13




         In re Duro Dyne Nat’l Corp., Ch. 11 Case No. 18-27963 (MBK) (Bankr. D. N.J. 2018); In re

         Federal-Mogul Glob. Inc., Ch. 11 Case No. 01-10578 (Bankr. D. Del. 2001); In re Pittsburgh

         Corning Corp., Ch. 11 Case No. 00-22876 (JKF) (Bankr. W.D. Pa. 2000); and In re Johns-Manville

         Corp., Ch. 11 Case No. 82-B-11656 (BRL) (Bankr. S.D.N.Y. 1984).

                           11.     Young Conaway is a general practice, litigation-oriented firm that maintains

         national, regional and local practices in the areas of corporate, bankruptcy, commercial, real estate,

         personal injury, employment, and environmental law.                   Young Conaway’s Bankruptcy and

         Corporate Restructuring section has extensive experience and knowledge in the field of debtors’

         and creditors’ rights and business reorganizations under chapter 11 of the Bankruptcy Code.

         Moreover, Young Conaway has substantial experience in bankruptcy cases affecting the rights of

         mass-tort claimants:

                                   (a)      Young Conaway represented the legal representative for future

                                   claimants in the following asbestos bankruptcy cases that reached

                                   confirmation:3 In re Maremont Corp., Case No. 19-10118 (KJC) (Bankr. D.

                                   Del. 2019); In re Yarway Corp., Ch. 11 Case No. 13-11025 (BLS) (Bankr.

                                   D. Del. 2013); In re Metex Mfg. Corp., Ch. 11 Case No. 12-14554 (BRL)

                                   (Bankr. S.D.N.Y. 2012); In re United Gilsonite Labs., Ch. 11 Case No. 11-

                                   2032 (Bankr. M.D. Pa. 2011); In re Specialty Prods. Holding Corp., Ch. 11

                                   Case No. 10-11780 (JKF) (Bankr. D. Del. 2010); In re Leslie Controls, Inc.,

                                   Ch. 11 Case No. 10-12199 (CSS) (Bankr. D. Del. 2010); In re Durabla Mfg.

                                   Co., Ch. 11 Case No. 09-14415 (MFW) (Bankr. D. Del. 2009); In re Porter-




         3
             Mr. Patton was the future claimants’ representative in the following bankruptcy cases: In re Maremont Corp., In
             re Yarway Corp., In re United Gilsonite Labs., and In re Leslie Controls, Inc.
26079686.4

                                                                 4
             Case 20-10343-LSS     Doc 243      Filed 03/20/20   Page 5 of 13




                   Hayden Co., Ch. 11 Case No. 02-54152-SD (Bankr. D. Md. 2006); In re

                   The Flintkote Co., Ch. 11 Case No. 04-11300 (JKF) (Bankr. D. Del. 2004);

                   In re Mid-Valley, Inc., Ch. 11 Case No. 03-35592 (JKF) (Bankr. W.D. Pa.

                   2003); In re ACandS Inc., Ch. 11 Case No. 02-12687 (RJN) (Bankr. D. Del.

                   2002); In re Kaiser Aluminum Corp., Ch. 11 Case No. 02-10429 (JKF)

                   (Bankr. D. Del. 2002); In re N. Am. Refractories Co., Ch. 11 Case No. 02-

                   20198 (JKF) (Bankr. W.D. Pa. 2002); In re Glob. Indus. Techs., Inc., Ch.

                   11 Case No. 02-21626 (JKF) (Bankr. W.D. Pa. 2002); In re Federal-Mogul

                   Glob. Inc., Ch. 11 Case No. 01-10578 (Bankr. D. Del. 2001); In re USG

                   Corp., Ch. 11 Case No. 01-2094 (RJN) (Bankr. D. Del 2001); In re

                   Armstrong World Indus., Inc., Ch. 11 Case No. 00-4471 (Bankr. D. Del.

                   2000); In re The Babcock & Wilcox Co., Ch. 11 Case No. 00-10092 (Bankr.

                   E.D. La. 2000); In re Owens Corning, Ch. 11 Case No. 00-3837 (Bankr. D.

                   Del. 2000); In re Pittsburgh Corning Corp., Ch. 11 Case No. 00-22876

                   (JKF) (Bankr. W.D. Pa. 2000); and In re The Celotex Corp., Ch. 11 Case

                   No. 90-100016-8B1 (Bankr. M.D. Fla. 1996). In addition, Young Conaway

                   represented the legal representative for future claimants exposed to

                   tetrochloroethylene in In re Met-Coil Sys. Corp., Ch. 11 Case No. 03-12676

                   (MFW) (Bankr. D. Del. 2003).

                   (b)    Young Conaway currently represents the legal representative for

                   future claimants in the pending bankruptcy cases of In re Imerys Talc

                   America, Case No. 19-10289 (LSS) (Bankr. D. Del. 2019); In re Fairbanks

                   Co., Case No. 18-41768 (PWB) (Bankr. N.D. Ga. 2018); In re Duro Dyne


26079686.4

                                            5
                         Case 20-10343-LSS              Doc 243        Filed 03/20/20        Page 6 of 13




                                    Nat’l Corp., Case No. 18-27963 (MBK) (Bankr. D. N.J. 2018); In re

                                    Bestwall LLC, Case No. 17-31795 (LTB) (Bankr. W.D.N.C. 2017); In re

                                    Kaiser Gypsum Co., Case No. 16-31602 (JCW) (Bankr. W.D.N.C. 2016);

                                    In re Rapid-Am. Corp., Case No. 13-10687 (SMB) (Bankr. S.D.N.Y. 2013);

                                    and In re Sepco Corp., Case No. 16-50058 (AMK) (Bankr. N.D. Ohio

                                    2016).4 There is also an application pending to retain Young Conaway as

                                    counsel to the future claimants’ representative in the pending bankruptcy

                                    case of In re Paddock Enterprises, LLC, Case No. 20-10028 (LSS) (Bankr.

                                    D. Del.).

                                    (c)      Young Conaway represents the legal representative for future

                                    claimants in connection with asbestos personal injury settlement trusts5

                                    established from the ACandS, Babcock & Wilcox, Celotex, Federal-Mogul,

                                    Kaiser Aluminum, Porter-Hayden, Pittsburgh Corning, Flintkote, SPHC,

                                    UGL, Durabla, Leslie Controls, APG, NARCO, Metex, and Yarway, and

                                    Maremont bankruptcy cases. In addition, Young Conaway represents the

                                    legal representative for future claimants in connection with the asbestos and

                                    silica settlement trusts established from the Mid-Valley (DII Industries,

                                    LLC) bankruptcy case, the legal representative for future claimants in

                                    connection with the asbestos settlement trust established from the

                                    bankruptcy case of In re Quigley Co., Ch. 11 Case No. 04-15739 (SMB)




         4
             Mr. Patton is the future claimants’ representative in In re Imerys Talc America and In re Fairbanks Co., and a
             motion is pending for his appointment as the future claimants’ representative in In re Paddock Enterprises, LLC,
             Case No. 20-10028 (LSS) (Bankr. D. Del.).
         5
             Mr. Patton is the future claimants’ representative for the Celotex, UGL, Leslie Controls, and Yarway trusts.
26079686.4

                                                                   6
                      Case 20-10343-LSS         Doc 243     Filed 03/20/20    Page 7 of 13




                               (Bankr. S.D.N.Y. 2004), and the legal representative for future claimants in

                               connection with the Met-Coil TCE Trust. Young Conaway also represents

                               the State Insulation Corporation Asbestos Personal Injury Trust, of which

                               Mr. Harron serves as the trustee.

                               (d)     Young Conaway represented the debtor in the asbestos-related

                               chapter 11 case of In re Fuller-Austin Insulation Co., Ch. 11 Case No. 98-

                               2038 (JJF) (Bankr. D. Del. 1998), for which a plan was confirmed in 1998.

         Accordingly, the Future Claimants’ Representative believes that Young Conaway is well qualified

         to represent him in these chapter 11 cases.

                                         SERVICES TO BE PROVIDED

                        12.    The services that Young Conaway will perform will enable the Future

         Claimants’ Representative to execute his duties and responsibilities in connection with these

         chapter 11 cases. Subject to further orders of the Court, Young Conaway will render the following

         services, among others, to the Future Claimants’ Representative:

                               (a)     Providing legal advice with respect to the Future Claimants’

                               Representative’s powers and duties as Future Claimants’ Representative for

                               the Future Claimants;

                               (b)     Taking any and all actions necessary to protect and maximize the

                               value of the Debtors’ estates for the purpose of making distributions to

                               Future Claimants and to represent the Future Claimants’ Representative in

                               connection with negotiating, formulating, drafting, confirming and

                               implementing a plan(s) of reorganization, and performing such other

                               functions as are set forth in section 1103(c) of the Bankruptcy Code or as


26079686.4

                                                        7
                      Case 20-10343-LSS         Doc 243      Filed 03/20/20    Page 8 of 13




                               are reasonably necessary to effectively represent the interests of the Future

                               Claimants;

                               (c)     Appearing on behalf of the Future Claimants’ Representative at

                               hearings, proceedings before the Court, and meetings and other proceedings

                               in these chapter 11 cases, as appropriate;

                               (d)     Preparing and filing, on behalf of the Future Claimants’

                               Representative, all applications, motions, objections, answers, orders,

                               reports, and other legal papers as may be necessary and as may be

                               authorized by the Future Claimants’ Representative in connection with

                               these cases;

                               (e)     Representing and advising the Future Claimants’ Representative

                               with respect to any contested matter, adversary proceeding, lawsuit or other

                               proceeding in which the Future Claimants’ Representative may become a

                               party or otherwise appear in connection with these chapter 11 cases; and

                               (f)     Performing any other legal services and other support requested by

                               the Future Claimants’ Representative in connection with these cases.

                        13.    The services listed above are necessary and essential to the Future

         Claimants’ Representative. Young Conaway has agreed to act on the Futures Claimants’

         Representative’s behalf in all of these respects upon the terms set forth in this YCST Application.

                        14.    Young Conaway intends to apply for compensation for professional

         services rendered in connection with these cases and for reimbursement of actual and necessary

         expenses incurred, in accordance with the applicable provisions of the Bankruptcy Code, the

         Bankruptcy Rules, and the local rules and orders of this Court. The attorneys and paralegals


26079686.4

                                                         8
                       Case 20-10343-LSS        Doc 243      Filed 03/20/20    Page 9 of 13




         presently designated to represent the Future Claimants’ Representative and their current standard

         hourly rates are:

                        Robert S. Brady (Partner)                    $1,025 per hour
                        Edwin J. Harron (Partner)                    $970 per hour
                        Sharon M. Zieg (Partner)                     $835 per hour
                        Kevin A. Guerke (Partner)                    $775 per hour
                        Sara Beth A.R. Kohut (Counsel)               $700 per hour
                        Jordan E. Sazant (Associate)                 $415 per hour
                        Jared W. Kochenash (Associate)               $400 per hour
                        Casey S. Cathcart (Paralegal)                $295 per hour
                        Lisa M. Eden (Paralegal)                     $295 per hour

         The hourly rates set forth above are subject to periodic adjustments to reflect economic and other

         conditions. Subject to maintaining appropriate confidentiality restrictions, other attorneys and

         paralegals may from time to time serve the Future Claimants’ Representative in connection with

         the matters herein described.

                        15.    The hourly rates set forth above are Young Conaway’s standard hourly rates

         for work of this nature. These rates are set at a level designed to fairly compensate Young

         Conaway for the work of its attorneys and paralegals and to cover fixed and routine overhead

         expenses. It is Young Conaway’s policy to charge its clients in all areas of practice for all other

         expenses incurred in connection with the client’s case. The expenses charged to clients include,

         among other things, telephone and facsimile toll and other charges, mail and express mail charges,

         special or hand delivery charges, document processing, photocopying charges, charges for mailing

         supplies (including, without limitation, envelopes and labels) provided by the firm to outside

         copying services for use in mass mailings, travel expenses, expenses for working meals,

         computerized research, transcription costs, as well as non-ordinary overhead expenses such as

26079686.4

                                                         9
                      Case 20-10343-LSS         Doc 243        Filed 03/20/20   Page 10 of 13




         secretarial and other overtime. Young Conaway will charge for these expenses in a manner and

         at rates consistent with charges made generally to Young Conaway’s other clients. Young

         Conaway believes that it is fairer to charge these expenses to the clients incurring them than to

         increase the hourly rates and spread the expenses among all clients.

                        16.     Young Conaway understands that its fees and expenses in these chapter 11

         cases will be subject to the requirements of sections 330 and 331 of the Bankruptcy Code, the

         Bankruptcy Rules, and any order entered by this Court establishing procedures for interim

         compensation and reimbursement of expenses of professionals.

                        17.     As described in the FCR Appointment Motion, the Debtors provided to

         Young Conaway a retainer of $500,000 to pay the pre-petition fees and expenses of the Future

         Claimants’ Representative and Young Conaway incurred while conducting due diligence of the

         Debtors and its abuse-related personal injury claims. After reconciling, the balance of the retainer

         remaining is $500,000 as of the Petition Date. Attached hereto as Exhibit B is a summary of the

         pre-petition invoices and payments.

                        18.     Young Conaway has informed the Future Claimants’ Representative that,

         except as otherwise set forth in the Harron Declaration, and other than Young Conaway’s service

         as counsel to Mr. Patton in connection with his role as the pre-petition future claimants’

         representative and Mr. Patton’s proposed role as the post-petition Future Claimants’

         Representative, Young Conaway believes (a) it is independent of the Debtors and other parties in

         interest; (b) none of the matters disclosed in the Harron Declaration has had or will have an adverse

         effect on Young Conaway’s ability to advise the Future Claimants’ Representative in carrying out

         his duties to loyally and effectively represent the Future Claimants; and (c) to the extent section

         101(14) applies to the Future Claimants’ Representative’s retention of Young Conaway, Young


26079686.4

                                                          10
                      Case 20-10343-LSS         Doc 243        Filed 03/20/20   Page 11 of 13




         Conaway is a “disinterested person” and does not hold or represent any interest that is materially

         adverse to the Future Claimants’ Representative or the Future Claimants.

                                      BEST INTERESTS OF THE ESTATE

                          19.   The retention and employment of Young Conaway is necessary and in the

         best interests of the Futures Claimants, the Debtor and its estate and other creditors.

                          20.   As set forth in the FCR Appointment Motion, prior to the Petition Date, the

         Debtors engaged Mr. Patton to act as a pre-petition legal representative for future claimants for the

         purpose of representing the interests of individuals who may in the future assert abuse-related

         demands against the Debtors.       In connection with his pre-petition representation of Future

         Claimants, Mr. Patton retained Young Conaway to act as his counsel.

                          21.   As counsel to the pre-petition Future Claimants’ Representative, Young

         Conaway engaged in due diligence concerning the Debtors’ assets and abuse-related personal

         injury claims.

                          22.   Based on its pre-petition representation of Mr. Patton and the diligence

         performed by Young Conaway, Young Conaway is already familiar with the Debtors, their

         corporate history, assets, and abuse-related liabilities and litigation. Mr. Patton’s retention of

         Young Conaway as his counsel will serve the interests of the Future Claimants and the Debtors’

         estates because the Future Claimants’ Representative and Young Conaway can utilize the

         knowledge and experience gained from the firm’s pre-petition service to efficiently represent and

         protect the interests of the Future Claimants.

                          23.   Since the Petition Date, the Future Claimants’ Representative has continued

         to, among other things, engage in discussions with the Debtors and other parties in interest in

         connection with the administration of this case. Accordingly, the FCR Appointment Motion seeks


26079686.4

                                                          11
                      Case 20-10343-LSS          Doc 243       Filed 03/20/20    Page 12 of 13




         the appointment of the Future Claimants’ Representative effective as of the Petition Date. Because

         Young Conaway has assisted the Future Claimants’ Representative in his efforts since the Petition

         Date, the proposed Future Claimants’ Representative believes it is appropriate that Young

         Conaway’s retention be approved effective as of the Petition Date.

                        24.     Young Conaway’s bankruptcy and restructuring attorneys are, in the Future

         Claimants’ Representative’s view, highly skilled. Further, as noted above, Young Conaway has

         already developed a detailed and substantial understanding of the Debtors and their history, claims

         posture, and assets and liabilities. The Future Claimants’ Representative therefore believes that

         the retention of Young Conaway, effective as of the Petition Date, is in the best interest of the

         Debtors, their estates and creditors, as well as in the best interest of the Future Claimants.

                                                       NOTICE

                        25.     Notice of this YCST Application will be provided to (i) the U.S. Trustee;

         (ii) proposed counsel to the UCC; (iii) proposed counsel to the Tort Claimants’ Committee;

         (iv) counsel to the proposed Future Claimants’ Representative; (v) counsel to the Ad Hoc

         Committee of Local Councils; (vi) counsel to JPMorgan Chase Bank National Association;

         (vii) the County Commission of Fayette County (West Virginia), as issuer of those certain

         Commercial Development Revenue Bonds (Arrow WV Project), Series 2010A, 2010B and 2012;

         and (viii) any party that has requested notice pursuant to Bankruptcy Rule 2002. The Future

         Claimants’ Representative submits that, in light of the nature of the relief requested, no other or

         further notice need be given.

                                            NO PREVIOUS REQUEST

                        26.     No previous request for the relief sought in this YCST Application has been

         made to this or any other Court.


26079686.4

                                                          12
                       Case 20-10343-LSS        Doc 243       Filed 03/20/20   Page 13 of 13




                         WHEREFORE, the Future Claimants’ Representative requests entry of the

         Proposed Order, authorizing him to employ and retain the firm of Young Conaway to represent

         him in these chapter 11 cases effective as of the Petition Date, and granting such other and further

         relief as is just and proper.


             Dated: March 20, 2020                YOUNG CONAWAY STARGATT & TAYLOR, LLP

                                                   /s/ Edwin J. Harron
                                                  Robert S. Brady (No. 2847)
                                                  Edwin J. Harron (No. 3396)
                                                  Sharon M. Zieg (No. 4196)
                                                  Sara Beth A.R. Kohut (No. 4137)
                                                  Rodney Square
                                                  1000 North King Street
                                                  Wilmington, Delaware 19801
                                                  Telephone: (302) 571-6600
                                                  Facsimile: (302) 571-1253
                                                  Email: rbrady@ycst.com
                                                  Email: eharron@ycst.com
                                                  Email: szieg@ycst.com
                                                  Email: skohut@ycst.com

                                                  Proposed Counsel to the Proposed
                                                  Future Claimants’ Representative




26079686.4

                                                         13
